                 Case 2:14-cr-00303-DC Document 70 Filed 03/16/17 Page 1 of 3


 1 Dina L. Santos, SBN 204200
   A Professional Law Corporation
 2 455 Capitol Mall, Suite 802
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Email: defense@dinasantos.com
 4

 5 Attorney for:
   SESAR PRADO
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 14-0303-GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 4/28/17 AT 9:00 A.M.
     SESAR PRADO,
13                                    Defendant

14
                                                     STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Jason Hitt, and
16
     Defendant Sesar Prado, represented by Attorney Dina Santos hereby stipulate as follows:
17
            1.      By previous order, this matter was set for status on March 17, 2017.
18
            2.      By this stipulation, defendant now moves to continue the status conference until April 28,
19
     2017, and to exclude time between March 17, 2017, and April 28, 2017, under Local Code T4. Plaintiff
20
     does not oppose this request.
21
            3.      The parties agree and stipulate, and request that the Court find the following:
22
                    a)       Counsel for defendants desire additional time to review discovery, continue to
23
            conduct investigation, negotiate a possible plea agreement, and to otherwise prepare for trial.
24
                    b)       Counsel for defendants believe that failure to grant the above-requested
25
            continuance would deny them the reasonable time necessary for effective preparation, taking into
26
            account the exercise of due diligence.
27
                    c)       The government does not object to the continuance.
28

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
30
                 Case 2:14-cr-00303-DC Document 70 Filed 03/16/17 Page 2 of 3


 1                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of March 17, 2017, to April 28, 2017,

 6          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 7          because it results from a continuance granted by the Court at defendant’s request on the basis of

 8          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 9          of the public and the defendant in a speedy trial.

10          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

13

14

15          IT IS SO STIPULATED.

16

17

18 Dated: March 15, 2017                                       PHILLIP TALBERT
                                                               United States Attorney
19

20                                                             /s/ Jason Hitt
                                                               JASON HITT
21                                                             Assistant United States Attorney

22

23 Dated: March 15, 2017                                       /s/ Dina L. Santos
                                                               DINA SANTOS, ESQ.
24                                                             Attorney for Sesar Prado

25

26

27

28

      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
30
              Case 2:14-cr-00303-DC Document 70 Filed 03/16/17 Page 3 of 3


 1                                                        ORDER

 2         IT IS SO FOUND AND ORDERED.

 3         Dated: March 16, 2017

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
30
